            Case 1:22-cv-21317-FAM Document 4-1 Entered on FLSD Docket 05/04/2022 Page 1 of 1

        AO 399 (01/09) Waiver of the Service of Summons



                                              UNITED STATES DISTRICT COURT
                                                                            for the
                                                                  Southern District
                                                               __________  District of
                                                                                    of __________
                                                                                       Florida

                              Yosdalis E. Garcia                 )
                                      Plaintiff                  )
                                    v.                           )   Civil Action No. 1:22-cv-21317-FAM
p d/b/a UniVista Insurance, Alberto Dominguez Menendez, and Alain)Dominguez Menendez
                                Defendant                        )

                                                      WAIVER OF THE SERVICE OF SUMMONS

        To: Zandro E. Palma, Esq.
                     (Name of the plaintiff’s attorney or unrepresented plaintiff)

               I have received your request to waive service of a summons in this action along with a copy of the complaint,
        two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

                  I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

                 I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
        jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

                I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
        60 days from                05/04/2022            , the date when this request was sent (or 90 days if it was sent outside the
        United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

        Date:          05/04/2022                                                                             s/Brian H. Pollock, Esq.
                                                                                                    Signature of the attorney or unrepresented party

                        Alain Dominguez Menendez                                                               Brian H. Pollock, Esq.
                Printed name of party waiving service of summons                                                      Printed name
                                                                                                            135 San Lorenzo Avenue
                                                                                                                    Suite 770
                                                                                                             Coral Gables, FL 33146
                                                                                                                         Address

                                                                                                            brian@fairlawattorney.com
                                                                                                                     E-mail address

                                                                                                                   (305) 230-4884
                                                                                                                   Telephone number

                                                    Duty to Avoid Unnecessary Expenses of Serving a Summons

                  Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
        and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
        the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

                  “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
        no jurisdiction over this matter or over the defendant or the defendant’s property.

                If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
        a summons or of service.

                   If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
        and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.


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